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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


CAMBRIDGE RETIREMENT SYSTEM, on                      Case No. 2:19-cv-00754-MPK
behalf of itself and all others similarly situated
                                                     CLASS ACTION
                                Plaintiff,


                          v.
EQT CORPORATION, STEVEN T.
SCHLOTTERBECK, ROBERT J. MCNALLY,
DAVID L. PORGES, JIMMI SUE SMITH,
JAMES E. ROHR, VICKY A. BAILEY, PHILIP
G. BEHRMAN, KENNETH M. BURKE, A.
BRAY CARY, JR., MARGARET K. DORMAN,
STEPHEN A. THORINGTON, LEE T. TODD,
JR., CHRISTINE J. TORETTI, DANIEL J. RICE
IV, and ROBERT F. VAGT,

                                Defendants.




            NOTICE OF WITHDRAWAL OF LEAD PLAINTIFF MOTION BY
                       MOVANT JOSEPH F. BONETTO, JR.
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TO:    ALL PARTIES AND THEIR COUNSEL OF RECORD
       PLEASE TAKE NOTICE that after having reviewed the various submissions to the

Court, it appears that proposed lead plaintiff movant Joseph F. Bonetto, Jr. (“Movant”) does not

have the largest financial interest in the above-captioned action. As such, Movant hereby

withdraws his motion for appointment as lead plaintiff and approval of selection of lead counsel

filed on August 26, 2019. See ECF Dkt. No. 11. This notice is not a waiver of Movant’s ability to

participate in any recovery obtained on behalf of the Class or to serve as a lead plaintiff or

representative party should the need arise in the future.

DATED: August 29, 2019                         Respectfully submitted,

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                           Counsel for Lead Plaintiff Movant Joseph F.
                           Bonetto, Jr. and Proposed Lead Counsel

                           * Pro Hac Vice forthcoming




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